Case 1:22-cv-00154-MSN-IDD Document 1 Filed 02/10/22 Page 1 of 23 PageID# 1
Case 1:22-cv-00154-MSN-IDD Document 1 Filed 02/10/22 Page 2 of 23 PageID# 2
Case 1:22-cv-00154-MSN-IDD Document 1 Filed 02/10/22 Page 3 of 23 PageID# 3
Case 1:22-cv-00154-MSN-IDD Document 1 Filed 02/10/22 Page 4 of 23 PageID# 4
Case 1:22-cv-00154-MSN-IDD Document 1 Filed 02/10/22 Page 5 of 23 PageID# 5
Case 1:22-cv-00154-MSN-IDD Document 1 Filed 02/10/22 Page 6 of 23 PageID# 6
Case 1:22-cv-00154-MSN-IDD Document 1 Filed 02/10/22 Page 7 of 23 PageID# 7
Case 1:22-cv-00154-MSN-IDD Document 1 Filed 02/10/22 Page 8 of 23 PageID# 8
Case 1:22-cv-00154-MSN-IDD Document 1 Filed 02/10/22 Page 9 of 23 PageID# 9
Case 1:22-cv-00154-MSN-IDD Document 1 Filed 02/10/22 Page 10 of 23 PageID# 10
Case 1:22-cv-00154-MSN-IDD Document 1 Filed 02/10/22 Page 11 of 23 PageID# 11
Case 1:22-cv-00154-MSN-IDD Document 1 Filed 02/10/22 Page 12 of 23 PageID# 12
Case 1:22-cv-00154-MSN-IDD Document 1 Filed 02/10/22 Page 13 of 23 PageID# 13
Case 1:22-cv-00154-MSN-IDD Document 1 Filed 02/10/22 Page 14 of 23 PageID# 14
Case 1:22-cv-00154-MSN-IDD Document 1 Filed 02/10/22 Page 15 of 23 PageID# 15
Case 1:22-cv-00154-MSN-IDD Document 1 Filed 02/10/22 Page 16 of 23 PageID# 16
Case 1:22-cv-00154-MSN-IDD Document 1 Filed 02/10/22 Page 17 of 23 PageID# 17
Case 1:22-cv-00154-MSN-IDD Document 1 Filed 02/10/22 Page 18 of 23 PageID# 18
Case 1:22-cv-00154-MSN-IDD Document 1 Filed 02/10/22 Page 19 of 23 PageID# 19
Case 1:22-cv-00154-MSN-IDD Document 1 Filed 02/10/22 Page 20 of 23 PageID# 20
Case 1:22-cv-00154-MSN-IDD Document 1 Filed 02/10/22 Page 21 of 23 PageID# 21
Case 1:22-cv-00154-MSN-IDD Document 1 Filed 02/10/22 Page 22 of 23 PageID# 22
Case 1:22-cv-00154-MSN-IDD Document 1 Filed 02/10/22 Page 23 of 23 PageID# 23
